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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
                         v.                      )       CAUSE NO. 2:16-CR-174-RL-JEM
                                                 )
 JEFFERY SIMS,                                   )
                                 Defendant.      )

  AMENDED FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
         UPON A PLEA OF GUILTY BY DEFENDANT JEFFERY SIMS

 TO:     THE HONORABLE RUDY LOZANO,
         UNITED STATES DISTRICT COURT

         Upon Defendant Jeffery Sims’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge John E.

 Martin on June 28, 2017, with the consent of Defendant Sims, counsel for Defendant Sims, and

 counsel for the United States of America.

         The hearing on Defendant Sims’s plea of guilty was in full compliance with Rule 11, Federal

 Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

         In consideration of that hearing and the statements made by Defendant Sims under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Sims,

         I FIND as follows:

         (1) that Defendant Jeffery Sims understands the nature of the charge against him to which

 the plea is offered;

         (2) that Defendant Jeffery Sims understands his right to trial by jury, to persist in his plea of

 not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination;
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        (3) that Defendant Jeffery Sims understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Jeffery Sims understands that the

 sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Jeffery Sims has been knowingly and voluntarily

 made and is not the result of force or threats or of promises;

        (5) that Defendant Jeffery Sims is competent to plead guilty;

        (6) that Defendant Jeffery Sims understands that her answers may later be used against him

 in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Jeffery Sims’s plea; and further,

        I RECOMMEND that the Court accept Jeffery Sims’s plea of guilty to the offense charged

 in Counts Six and Seven of the Second Superseding Indictment and that Defendant Jeffery Sims be

 adjudged guilty of the offense charged in Counts Six and Seven of the Second Superseding

 Indictment and have sentence imposed. A Presentence Report has been ordered. Should this Report

 and Recommendation be accepted and Jeffery Sims be adjudged guilty, sentencing before Senior

 Judge Rudy Lozano will be set at a later date by separate order. Objections to the Findings and

 Recommendation are waived unless filed and served within fourteen (14) days. See 28 U.S.C. §

 636(b)(1).

        So ORDERED this 22nd day of August, 2017.

                                                       s/ John E. Martin
                                                       MAGISTRATE JUDGE JOHN E. MARTIN
                                                       UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
